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EXHIBIT 1

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

AMERICAN CIVIL LIBERTIES UNION,
et al.,

Plaintiffs,

v. Civil Action No.
. 98-CV-5591

ALBERTO R. GONZALES, in his official
capacity as Attorney General of the United

States,

Defendant.

EXPERT REPORT OF HENRY REICHMAN

May 8, 2006
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With this background in mind, | have read carefully the amended complaint filed
by plaintiffs and have looked extensively at plaintiffs’ web sites. Clearly, these web sites
are all forms of expression enjoying protection under the First Amendment. In exploring
these web sites | encountered sexually frank material and vulgar language, but |
encountered nothing that could reasonably be deemed “obscene” under my
understanding of current legal standards, or “harmful to minors” under any reasonable
definition of those words. | did, however, encounter considerable material that, judging
ftom the experiences of libraries and schools, as well as recent controversies regarding
film ratings and television broadcasts, might well be unfairly targeted as “obscene” or
“harmful to minors” by overzealous officials or members of the general public. Such
officials and citizens could reasonably be expected to pressure prosecutors to file
charges under the provisions of COPA, even if such charges might not eventually be
affirmed in court. Thus, since the World Wide Web reaches all communities in the
United States, it seems reasonable that plaintiffs could fear prosecution for violating the

provisions of COPA in some community, and, as | will explain later, this would chill their

-right to expression in all communities.

A look at several of plaintiffs’ websites provides support for this contention.

Sex Education

Plaintiff Sexual Health Network maintains a website, sexualhealth.com. The site
is dedicated to providing access to sexuality information, education, and support. Links
bring visitors to sections on Men's Sexual Health, Women’s Sexual Health, Love and
Relationships, Sexuality Education, Disability and Chronic Conditions, Sexually

Transmitted Infections, Sexual Health Resources, and Shopping.

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Plaintiff Heather Corrinna maintains a website, scarleteen.com, which is
“dedicated to delivering the best contemporary teen sex ed on the net.’ The site
includes articles, advice, a chat room, and links to other resources, including an online
shop. There are visual representations and detailed descriptions of male and female.
genitalia, advice on safe sex, and a description by plaintiff Corinna of the first time she
had intercourse. According to the site, the most frequently visited articles include ones
on Female Anatomy, Masturbation, Corinna’s first-time memoir, Painful Sex, Orgasm
and Sexual Response, and “Blue Balls.”

Both sites abound with frank discussions of sexual health, masturbation, and
sexual techniques. Both provide opportunities for visitors to purchase sexual aids,
including condoms and lubricants, as does the Condomania site operated by plaintiff
Addazi, Inc.

As previously noted, many people find all sexual education inappropriate for

“minors, especially very young minors. Much of what is available at Sexual Health

Network, Scarleteen, or Condomania would not be found in the typical school sex

education class. Yet this material is by no reasonable definition obscene or harmful to

minors. The Sexual Health Network and Condomania are principally aimed at adults,

. although post-pubescent teenagers can also find useful information there. Scarleteen is

clearly aimed at teenagers. Were any of these sites to be judged by whether or not

members of some community could consider them harmful to any minors, including .

__ those who are pre-pubescent, there can be little doubt that those who find the far more

limited resources available in school sex education classes objectionable or
“inappropriate” would surely be moved to complain about these sites.

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seen by many as sexually explicit. Moreover, since most minors are below the age of
consent, someone might construe these ads as invitations to pedophilia if these ads
were available to minors. However, perusing the site | saw no attempts to solicit
children. ‘Separate chat rooms are provided for gay males, lesbians, ‘bisexuals, and «
transvestite/transgender individuals.

In short, epgn.com is not an explicitly sexual site by any reasonable definition.
Nonetheless, plaintiffs do have good reason to fear that under COPA they might in
“some communities be accused of providing material that is “harmful to minors.” In fact,

in some states and communities citizens and public officials have intimated that the very
topic of homosexuality itself, even if its treatment is not sexually explicit or. even sexually
oriented, is by definition “age-inappropriate.”

Plaintiffs might well conclude that they have reason to fear the chilling effects of
COPA on the basis of the following incidents that have occurred in recent years:
. Last year the Oklahoma House of Representatives voted 81-3 fora non-binding

resolution calling on Oklahoma libraries to “confine homosexually themed books

and other age-inappropriate material to areas exclusively for adult access and
distribution” (see Newsletter, July 2005, p. 156). Earlier, legislators had branded
the children’s book King and King, about a gay prince, “obscene” and said it

should be reserved for adults (see News/etter, May 2005, p. 108).

° Also last year a state legislator in Louisiana declared that books ‘containing the:
theme of homosexuality” and other “age-inappropriate” topics should not be in

" public libraries and accessible to children (see Newsletter, July 2005, p. 154).

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